

People v Graham (2022 NY Slip Op 07415)





People v Graham


2022 NY Slip Op 07415


Decided on December 23, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2022

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, WINSLOW, AND BANNISTER, JJ. (Filed Dec. 23, 2022.) 


MOTION NO. (525/19) KA 16-00756.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vISIAH GRAHAM, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








